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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION
MICHAEL MARANDA,
Plaintiff,
Vv. Case No: 5:19-ev-528-Oc-30PRL
HASH DEPLOY INC and DOUGLAS
SHOOK

Defendants.

ENTRY OF DEFAULT

Pursuant to Fed.R.Civ.P. 55(a), default is entered against the defendant HASH DEPLOY

INC in Ocala, Florida on the 27th day of February, 2020.

ELIZABETH M. WARREN, CLERK

s/L. Kirkland, Deputy Clerk

Copies furnished to:

Counsel of Record
